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 6
                           IN THE UNITED STATES BANKRUPTCY COURT
 7
                                    FOR THE DISTRICT OF ARIZONA
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      In Re:                                       Chapter 7
 9
      DALE BARLAGE,                                       Case No. 4:21-bk-02432-SHG
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                                               Debtor.    MOTION TO AVOID JUDGMENT LIEN
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               COMES NOW the Debtor, Dale Barlage by and through counsel undersigned and pursuant
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     to 11 U.S.C. § 522(f)(1)(A), hereby motion this court for an order avoiding the following judicial
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     lien:
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                      William Spires vs. Dale Barlage, District Court, Country of Arapahoe, State
15                    of Colorado, case number 2012CV2229, recorded on 11/04/2013 in the Pima
                      County Recorder Office, sequence number 20133080541.
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               As grounds therefore, Debtors state as follows:
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     1.        The Debtor filed his petition on April 5, 2021.
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     2.        Pursuant to state law, the creditor has obtained a judgement against the Debtor in Pima
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     County, which they perfected and recorded in the property records of Pima County, Arizona.
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     3.        The aforementioned judgement, as it is recorded, constitute judicial lien against the real
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     property of the Debtors, located at 505 W. Mission Twin Buttes Rd., Green Valley, AZ 85622-8318.
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     4.        Pursuant to Arizona Revised Statutes 33-1101(A) and 33-1125, there exists by operation of
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     law an exemption available to the Debtor in the above-captioned action which prohibits creditor
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     action against the above real property.
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     5.        The judgment lien of the creditor WILLIAM SPIRES impairs the exemptions of the Debtor’s
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     interest in the subject property.
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 1   6.     Pursuant to 11 U.S.C. §522 (f)(1)(A) and (f) (2)(A), the Debtor may avoid the fixing of said
 2   judicial lien of WILLIAM SPIRES on the Debtor’s real property.
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            WHEREFORE, the Debtor hereby request that this Honorable Court enter an order avoiding
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     the fixing of the judicial lien pending Chapter 7 discharge of said creditor WILLIAM SPIRES so that
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     the Debtor may record same.
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 7   DATED this 5th day of May, 2021.
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                                                  LAW OFFICES OF BRUCE D. BRIDEGROOM
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11                                                Bruce D. Bridegroom
                                                  Attorney for Debtor
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